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                       1 J. TONY SERRA #32639
                           SHARI L. WHITE #180438
                       2 506 Broadway
                           San Francisco CA 94133
                       3 Telephone: 415/986-5591

                       4 Attorneys for Defendant
                           ETHAN STUART
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                       6
                                                UNITED STATES DISTRICT COURT
                       7
                                               EASTERN DISTRICT OF CALIFORNIA
                       8

                       9
                           UNITED STATES OF AMERICA,
                      10
                                      Plaintiff,                    CR 12-0076 WBS
                      11
                                v.                                  STIPULATION AND ORDER
                      12                                            CONTINUING STATUS CONFERENCE
                           SEAN FARRELL and ETHAN STUART,           AND EXCLUDING TIME
                      13                                            Date: December 17, 2012
                                      Defendants.                   Time: 9:30 a.m.
                      14                                    /

                      15
                                Defendants SEAN FARRELL and ETHAN STUART, by and through
                      16
                           their attorneys, and plaintiff United States of America, by and
                      17
                           through its attorney, hereby stipulate and agree that the status
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                           conference of December 17, 2012, at 9:30 a.m., should be
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                           continued to February 25, 2013 at 9:30 a.m.
                      20
                                The parties have met and conferred and determined that in
                      21
                           the interest of judicial economy the pending motions date should
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                           be vacated from the calendar and reset to be heard at a later
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                           date with all other substantive motions the defense intends to
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                           file, including the motion to suppress.
                      25
                                The parties are still ironing out discovery related issues
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                           and working with the government to obtain additional discovery
                      27
LAW OFFICES                in this matter, which is relevant and necessary prior to the
506 BROADWAY          28
SAN FRANCISCO
  (415) 986-5591
                           submission of motions relating to the revelation of the
Fax: (415) 421-1331

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                       1 informants and the suppression of evidence.

                       2        For these reasons, the parties respectfully request that

                       3 the Court vacate the motions date and status conference date

                       4 currently set for December 17, 2012, at 9:30 a.m. and set a new

                       5 status conference date of February 25, 2013 at 9:30 a.m.

                       6        The parties agree to exclude time, based on the pendency of

                       7 the motions, pursuant to 18 U.S.C. § 3161 (h)(8)(A) & (B)(i) &

                       8 iv) and Local Code T4, and the continuity of counsel, such that

                       9 the ends of justice served by granting such a continuance

                      10 outweigh the best interests of the public and the defendant in a

                      11 speedy trial because the failure to grant such a continuance

                      12 would unreasonably deny the defendant continuity of counsel.

                      13        Accordingly, the parties stipulate and agree that time

                      14 should be excluded under the Speedy Trial Act pursuant to 18

                      15 U.S.C. §3161(h)(8)(B)(iv) and Local Code T4.            The parties

                      16 stipulate that the ends of justice are served by the Court

                      17 excluding such time, so that counsel for each defendant may have

                      18 reasonable time necessary for effective preparation, taking into

                      19 account the exercise of due diligence and continuity of counsel.

                      20 The parties further stipulate and agree that time for trial

                      21 under the Speedy Trial Act be excluded pursuant to 18 U.S.C. §

                      22 3161(h)(1)(D) & (h)(7)(A) & (B)(iv), Local Codes E and T-4.

                      23        Dated: December 5, 2012

                      24
                            /s/J. TONY SERRA                         /s/RANDOLPH E. DAAR
                      25 J. TONY SERRA                              RANDOLPH E. DAAR
                           SHARI L. WHITE                           Attorney for SEAN FARRELL
                      26 Attorneys for ETHAN STUART

                      27
LAW OFFICES                                                          /s/JASON HITT
506 BROADWAY
SAN FRANCISCO
                      28                                            Assistant U.S. Attorney
  (415) 986-5591
Fax: (415) 421-1331

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                       1                                     ORDER

                       2        Pursuant to the stipulation of the parties and good cause

                       3 appearing, IT IS HEREBY ORDERED that:

                       4        1.     The status conference in this matter set for December

                       5 17, 2012, at 9:30 a.m. and motions date is VACATED;

                       6        2.     A new status conference be set for February 25, 2013,

                       7 at 9:30 a.m.; and

                       8        3.     Based upon the representations and stipulation of the

                       9 parties, the Court finds that the time exclusion under 18 U.S.C.

                      10 § 3161(h)(8)(B)(iv) applies and the ends of justice outweigh the

                      11 best interest of the public and the defendants in a speedy

                      12 trial.      The parties further stipulate and agree that time for

                      13 trial under the Speedy Trial Act be excluded pursuant to 18

                      14 U.S.C. § 3161(h)(1)(D) & (h)(7)(A) & (B)(iv), Local Codes E and

                      15 T-4.   Accordingly, time under the Speedy Trial Act shall be

                      16 excluded from December 17, 2012, up to and including February

                      17 25, 2013.

                      18        IT IS SO ORDERED.

                      19        Dated:    December 6, 2012

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LAW OFFICES
506 BROADWAY          28
SAN FRANCISCO
  (415) 986-5591
Fax: (415) 421-1331

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